       Case
     Case    3:23-cv-00782-YY Document
          2:16-md-02740-KDE-MBN        6-16 877
                                  Document    Filed 05/22/23
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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

    In Re: TAXOTERE (DOCETAXEL)                                     MDL NO. 2740
           PRODUCTS LIABILITY
           LITIGATION
                                                                     SECTION “N” (5)
    THIS DOCUMENT RELATES TO:
    ALL CASES


                              PRETRIAL ORDER NO. 61
    [Order Dismissing Count Two and Count Eight of the Master Long Form Complaint]

       On August 30, 2017, the Court held oral argument on Defendants’ Motion to Dismiss

Plaintiffs’ Master Long Form Complaint (Rec. Doc. 489). At the conclusion of the hearing, the

Court denied Defendants’ motion with respect to Count One and Counts Three through Seven of

Plaintiffs’ First Amended Master Long Form Complaint. 1 See Rec. Doc. 784. In addition, the Court

ordered that, with respect to Counts Two and Eight, which allege strict liability and breach of

express warranty, respectively, Plaintiffs submit supplemental briefing or an Amended Master

Long Form Complaint to the Court within fourteen days of the Court’s ruling, clearly identifying

what express statements or language constitutes the alleged misrepresentation of warranty. See id.

       In response, Plaintiffs’ Liaison Counsel advised the Court via email, attached hereto as

“Exhibit A,” that the Plaintiffs’ Steering Committee (“PSC”) elected not to file supplemental

briefing or an amendment related to the allegations supporting Counts Two and Eight in the First




1
        Defendants filed the motion to dismiss in response to Plaintiffs’ original Master Long Form
Complaint (Rec. Doc. 312), filed on March 31, 2017. However, on July 25, 2017, Plaintiffs filed
a First Amended Master Long Form Complaint (Rec. Doc. 689) in order to correct the names of
various Defendants who were incorrectly named in the original document. This amendment,
however, did not affect the substantive counts of the original Master Long Form Complaint.
Therefore, as Plaintiffs’ First Amended Master Long Form Complaint is now the operative
complaint in this MDL, this Court’s Order pertains to Counts Two and Eight of Plaintiffs’ First
Amended Master Long Form Complaint.
                                                1
       Case
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Amended Master Long Form Complaint. Therefore, the PSC respectfully requested that this Court

enter an order dismissing Counts Two and Eight in the First Amended Master Long Form

Complaint and setting a deadline of two weeks to allow any individual plaintiff to amend her Short

Form Complaint to allege facts supporting analogous state law claims that may be viable on an

individual basis.

       Accordingly, IT IS ORDERED that Count Two and Count Eight of Plaintiffs’ First

Amended Master Long Form Complaint are DISMISSED.

       IT IS FURTHER ORDERED that an individual plaintiff shall have fourteen (14) days

from the date of this Order to amend her Short Form Complaint to allege analogous state law

claims that may be viable on an individual basis.

       New Orleans, Louisiana, this 27th day of September 2017.



                                                    ___________________________________
                                                    KURT D. ENGELHARDT
                                                    UNITED STATES DISTRICT JUDGE




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            Case
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           Taxotere - Order of August 30, 2017                                                     Exhibit “A”
           Palmer Lambert
           to:
           Chynna Anderson
           09/13/2017 09:46 PM
           Cc:
           Douglas Moore, John Olinde, "Jennifer_Rogers@laed.uscourts.gov", Dawn Barrios
           Hide Details
           From: Palmer Lambert <plambert@gainsben.com>
           To: Chynna Anderson <chynna_anderson@laed.uscourts.gov>
           Cc: Douglas Moore <dmoore@irwinllc.com>, John Olinde <olinde@chaffe.com>,
           "Jennifer_Rogers@laed.uscourts.gov" <Jennifer_Rogers@laed.uscourts.gov>, Dawn Barrios <barrios@bkc-
           law.com>
           History: This message has been replied to and forwarded.
Dear Chynna,

Our apologies to the Court and to Defendants' Liaison Counsel for the time of this email. Despite diligent efforts, the
decision on whether the PSC should amend the Master Complaint or submit further briefing was recently made.

Plaintiffs, through the PSC, have considered the Court’s Order of August 30, 2017, and have elected not to file an Amended
Complaint related to the allegations supporting Counts II and VIII in the Master Long Form Complaint. The PSC is advising
all non-PSC plaintiffs’ counsel of this decision tomorrow.

Under PTO 15, individual Plaintiffs have the option to adopt allegations in the Master Complaint or to supplement those
allegations. Individual Plaintiffs may yet be able to identify express statements or language that a Defendant may have
communicated to them or their doctors. Therefore, the PSC respectfully requests that the Court enter an order dismissing
Counts II and VIII in the Master Long Form Complaint and setting a deadline of two weeks to allow any individual counsel
to amend an individual short form to allege facts supporting analogous state law claims that may be viable on an individual
plaintiff basis.

Many thanks,
Dawn and Palmer

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